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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ------------------------------------------------------x
 UNITED STATES OF AMERICA,                             :
                                                       :                    SUMMARY ORDER
                   -against-                           :                      06-CR-413 (DLI)
                                                       :
 MIGUEL LUCIANO, pro se,                               :
                                                       :
                            Defendant.                 :
 ------------------------------------------------------x
 DORA L. IRIZARRY, U.S. District Judge:

         On October 15, 2013, pro se 1 defendant Miguel Luciano (“Defendant”) filed this motion

 requesting a sentence modification pursuant to 18 U.S.C. § 3582(c)(2) in light of Amendment

 706 to the United States Sentencing Guidelines (“Sentencing Guidelines”) which became

 effective on November 1, 2007 (reducing by two the offense level applicable to most cocaine

 base (“crack”) offenses), and The Fair Sentencing Act of 2010 (“FSA”), Pub. L. No. 111-222,

 124 Stat. 2372 (2010) (altering the threshold quantities of crack that trigger statutory minimum

 sentences applicable to violations of 21 U.S.C. § 841). (See Dkt. Entry No. 568.) The Court

 denied Defendant’s motion (see March 2, 2011 Summary Order (“3/2/11 Or.”), Dkt. Entry No.

 592), which Order the Second Circuit affirmed (see March 27, 2012 Mandate, Dkt. Entry No.

 668).

         Defendant now moves, for the second time, for a sentence reduction, arguing that he is

 entitled to such relief under 18 U.S.C. § 3582(c)(2), Sentencing Guideline § 1B1.10, and

 Amendment 750 (as amended by Amendment 759) to the Sentencing Guidelines (see

 Defendant’s Second Motion for Resentencing (“Def.’s 2nd Mot.”), Dkt. Entry No. 781), which




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        Because defendant is a pro se litigant, the Court, in deciding this motion, has construed
 defendant’s papers broadly, interpreting them to raise the strongest arguments they suggest. See
 Weixel v. Bd. of Educ. of N.Y., 287 F. 3d 138, 146 (2d Cir. 2002).
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 the Government opposes (see Government’s Opposition to Def.’s 2nd Mot. (“Gov’t Opp’n”),

 Dkt. Entry No. 783). For the reasons set forth more fully below, Defendant’s motion is denied.

        “[I]n the case of a defendant who has been sentenced to a term of imprisonment based on

 a sentencing range that has subsequently been lowered by the Sentencing Commission . . . the

 court may reduce the term of imprisonment . . . .” 18 U.S.C. § 3582(c)(2). Further, Sentencing

 Guideline § 1B1.10 states that:     “In a case in which a defendant is serving a term of

 imprisonment, and the guideline range applicable to that defendant has subsequently been

 lowered as a result of an amendment to the Guidelines Manual listed in subsection (c) below, the

 court may reduce the defendant’s term of imprisonment . . . .” U.S.S.G. § 1B1.10(a)(10). In

 support of his request for a reduced sentence, Defendant relies on Part A of Amendment 750,

 which, notably, is listed in subsection (c) of Sentencing Guideline § 1B1.10. See U.S.S.G. §

 1B1.10(c). Part A of Amendment 750 is a retroactive amendment that altered the offense levels

 in U.S.S.G. 2D1.1 applicable to crack.

        However, application of Amendment 750 does not result in a sentence reduction for

 Defendant. The evidence in the record established that Defendant conspired to distribute 1.5

 kilograms of crack. (See Plea Agreement, Exh. A to the Gov’t Opp’n at 2-3; Addendum to PSR

 ¶ 17.) Under the amended U.S.S.G. 2D1.1, the base offense level for conspiring to distribute 1.5

 kilograms of crack decreased from 36 (the applicable level at the time Defendant was sentenced)

 to 34. Notably, Defendant was sentenced as a career offender with a criminal history of VI. (See

 Plea Agreement at 3; Addendum to PSR ¶ 115.) Calculating Defendant’s sentence under the

 amended U.S.S.G. 2D1.1 results in a sentence of 262 to 327 months, which is greater than the

 statutory maximum of 240 months to which he was sentenced originally. Thus, application of

 Amendment 750 does not result in any decrease to Defendant’s sentence.             Under these



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 circumstances, courts routinely deny requests for resentencing. See, e.g., United States v. Twitty,

 473 F. App’x 300, 301 (4th Cir. 2012) (per curiam) (Defendant “is currently serving the statutory

 maximum sentence of 240 months’ imprisonment . . . . But for the statutory maximum, the low

 end of Twitty’s Guidelines range both before and after Amendment 750 exceeded 240 months.

 Therefore the district court properly found that Amendment 750 had no effect on Twitty’s

 Guidelines’ range.”). Accordingly, Defendant’s motion for a sentence reduction is denied.



 SO ORDERED.

 DATED:         Brooklyn, New York
                March 2, 2015

                                                         _____________/s/_____________
                                                              DORA L. IRIZARRY
                                                            United States District Judge




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